Case 3:09-cv-00298-N Document 2800 Filed 11/09/18 Page1of1 PagelD 82635

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

SECURITY AND EXCHANGE COMMISSION,

Plaintiff,

Vv.

SUBSTITUTION OF
COUNSEL OF RECORD

STANFORD INTERNATIONAL BANK, LTD., etal,

Defendants.

Civil Action No.: 09-CV-298-N

 

We, the undersigned, do hereby consent and agree that Silver Miller, with offices at

11780 West Sample Road, Coral Springs, Florida 33065, be substituted as counsel of record

in the place and stead of Phillips Lytle LLP and Robert Cornish, Esq. for Claimants, Jane

Sasser, Mark D. Oge, Linda K. Oge, Donna W. Allbritton, Gloria Hodapp, Abney

International, Ltd., and Barbara B. Zwick.

Dated: New York, New York
October 15, 2018

PHILLIPS LYTLE LLP

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October 15, 2018

  

\, See ——
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